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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

KEITH PILARSKI,                                  )
                                                 )
             Plaintiff,                          )
                                                 )
       vs.                                       )           Case No. 4:23-CV-01188-NCC
                                                 )
CHIEF CHRISTOPHER HAMMANN,                       )
                                                 )
             Defendant.                          )

                               MEMORANDUM AND ORDER

        This matter is before the Court on the parties’ Motions in Limine and Responses (Docs.

52, 55, 58, 60), Defendant’s Objections to Plaintiffs’ Exhibit List (Doc. 65), Defendant’s oral

objections to Plaintiffs’ “May Be Called” Witnesses, and the parties’ Objections to Proposed

Jury Instructions (Docs. 57, 59). The parties have consented to the jurisdiction of the

undersigned United States Magistrate Judge pursuant to Title 28 U.S.C. § 636(c) (Doc. 5). The

Court heard argument on the motions at the Final Pretrial Conference on June 5, 2025. The

Court rules as follows. 1

                                 Defendant’s Motions in Limine

        1. Keith’s underlying criminal case and trial

        Plaintiffs consent. The Court will sustain the motion. The parties may still impeach

witnesses with relevant testimony from Keith’s criminal case, but they should not make any

reference to the “criminal case/trial/prosecution.” The parties have agreed to use the phrase “In

your prior testimony.”



1
 The Court will refer to Christopher Hammann as “Hammann” and Keith and Linda Pilarski as
“Keith” and “Linda” for ease of reference. The Court will refer to “Plaintiffs” in the plural since
Linda Pilarski was dismissed after the Final Pretrial Conference.
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       2. References to any FBI or federal investigation into Hammann

       Plaintiffs consent. The Court will sustain the motion.

       3. Hammann’s surrender of his POST Certification

       Defendant argues such evidence: is not probative, is heavily outweighed by prejudice to

Hammann, may create several irrelevant mini-trials, and is excluded by F.R.E. 404. The Court

agrees. The Court will sustain the motion pursuant to F.R.E. 404. Relatedly, the parties may

identify that Defendant was Chief at the time of the incident but should in all other respects refer

to him as “Mister.”

       4. Hammann’s prior testimony that he did not originally plan to arrest Keith for a

peace disturbance

       Defendant argues that such evidence only goes to probable cause to arrest, which is no

longer at issue. Plaintiffs argue that it is relevant to the totality of circumstances surrounding

Hammann’s use of force. The Court will sustain the motion because Plaintiffs’ false arrest and

retaliatory arrest claims were dismissed on summary judgment. See Habiger v. City of Fargo, 80

F.3d 289, 298 n.8 (8th Cir. 1996) (“[W]e are inclined to believe that the presence of actual or

arguable probable cause is irrelevant to the objective reasonableness of the force used to effect

an arrest.”); c.f. Goff v. Bise, 173 F.3d 1068, 1074–75 (8th Cir. 1999) (allowing motive evidence

in “unusual circumstances” where arresting officer was having affair with arrestee’s wife, and

false arrest claim was still pending), abrogated on other grounds by Ortiz v. Jordan, 562 U.S.

180, 131 S. Ct. 884, 178 L. Ed. 2d 703 (2011); see also Graham v. Connor, 490 U.S. 386, 397

(1989) (stating that “the ‘reasonableness’ inquiry in an excessive force case is an objective one:

the question is whether the officers’ actions are ‘objectively reasonable’ in light of the facts and

circumstances confronting them, without regard to their underlying intent or motivation” and



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“[a]n officer’s evil intentions will not make a Fourth Amendment violation out of an objectively

reasonable use of force; nor will an officer’s good intentions make an objectively unreasonable

use of force constitutional.”).

       Indeed, this Court must be vigilant in excluding evidence of dismissed claims:

       The decision in [Blair v. Wills, 420 F.3d 823 (8th Cir. 2005)] suggests that a trial
       court must be vigilant to exclude evidence that relates to dismissed claims or
       misconduct of a party that is irrelevant or only marginally relevant to remaining
       claims, because of the prejudicial effect of such evidence. See also Lamb Eng’g &
       Constr. Co. v. Nebraska Pub. Power Dist., 103 F.3d 1422, 1432–33 (8th Cir.
       1997) (holding that evidence that was relevant only to a voluntarily withdrawn
       breach-of-contract claim should not have been admitted to determine damages
       owed under a termination clause, and noting that the error in admitting such
       evidence “caused, or contributed to, a prejudicial conclusion” by the jury);
       Dethmers Mfg. Co., Inc. v. Automatic Equip. Mfg. Co., 73 F.Supp.2d 997, 10002–
       03 (N.D. Iowa 1999) (concluding that evidence that was only marginally relevant
       to remaining claims should be excluded pursuant to Rule 403, on the ground that
       it could confuse the issues for the jury).

Peters v. Risdal, No. C 12-4070-MWB, 2013 WL 9839011, at *5 (N.D. Iowa Dec. 5, 2013)

(emphasis in original).

       At the Final Pretrial Conference, Plaintiffs stated they wished to make an offer of proof at

trial, outside of the presence of the jury, regarding this motion in limine. Defendant objected on

the same grounds. For the reason set forth above, the Court will sustain Defendant’s objection to

Plaintiffs’ proposed offer of proof regarding this motion in limine.

       5. References to Hammann sending photographs of his penis to women

       In the body camera video, Linda makes comments about Hammann sending photographs

of his penis to women. She has also testified that she made similar comments earlier in the

encounter. Defendant argues that such evidence is irrelevant and excludable under F.R.E. 404,

and that whether Hammann’s force was subjectively motivated by Linda’s alleged comments is

irrelevant to the objective reasonableness inquiry. Plaintiffs argue Linda’s comments go to the



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totality of the circumstances of Hammann’s decision to push and/or punch her. Following the

Final Pretrial Conference, Plaintiffs dismissed Linda’s excessive force claim against Hammann.

       The Court will overrule the motion in part. Linda’s comments are relevant to the totality

of the circumstances confronting Hammann when he used force against Keith. See Stepanovich

v. City of Naples, 728 F. App’x 891, 900 (11th Cir. 2018) (approving admission of

contemporaneous berating and offensive comments by friend of arrestee for full context of

events and proper understanding of officer’s demeanor). At the Final Pretrial Conference,

defense counsel stated that, if her comments are allowed in, he would like to examine Hammann

on the truth of the matter. The Court will allow that. In addition, there was discussion at the

conference of a specific comment by Linda in the body camera video that Hammann is “sending

it to little girls.” The Court and the parties are amenable to excluding that specific comment if it

is possible to simply bleep it out (as opposed to manually turning down the volume). If not, the

Court will allow the full video in.

       6. Improper questioning of Hammann on matters which are inherently legal

conclusions and/or argumentative

       At the Final Pretrial Conference, Defendant clarified that this motion was meant to

address prior questioning of Hammann at Keith’s criminal trial about his familiarity with various

constitutional amendments. The Court will sustain the motion. However, Hammann may testify

to his professional training and experience as relevant.

       In discussion of this motion in limine at the Final Pretrial Conference, there was

discussion of Plaintiffs’ “May Be Called” Witnesses: Greg Brinker, Chris Hammann, Evelyn

LaBoebe, Joshua Lewis, Ex-Mayor George Panhorst, Jr., Tara Steffens, Kathleen “Kathy”

Trentmann, and Mark Wehner. Plaintiffs stated they will not be calling Hammann, Lewis,



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Panhorst, Steffens, and Trentmann. Thus, the witnesses at issue were Brinker, LaBoebe, and

Wehner. Defendant argued that they have no relevant testimony to give.

       Defendant argued that Brinker’s testimony is only relevant to the arrest claims dismissed

on summary judgment and would get into the weeds of the already-litigated probable cause

issue. Plaintiffs agreed not to call Brinker or make an offer proof but reserved the right to call

him as a rebuttal witness depending on Hammann’s testimony. The Court will reserve ruling on

whether Brinker may be called as a rebuttal witness.

       Plaintiffs proffered that LaBoebe worked at an antique shop downtown and that then-

Alderman Wehner told her to call the police if she heard the Pilarskis cuss so they could arrest

Keith. Plaintiffs further proffered that Wehner talked to a policeman (Wehner could not

remember who) about complaints about the Pilarskis. Plaintiffs argued that the testimony of

LaBoebe and Wehner is relevant to how Hammann was part of the town’s “power structure” that

had it out for the Pilarskis based on their First Amendment-protected expression and that their

testimony goes to Hammann’s “ill will” toward the Pilarskis. Defendant again argued that their

testimony is only relevant to dismissed claims. The Court will sustain Defendant’s objections to

LaBoebe and Wehner. Their testimony is related to the claims dismissed on summary judgment

and is not relevant to the remaining excessive force claim. See Blair, 420 F.3d 823; Peters, 2013

WL 9839011 at *5. Moreover, any connection with Hammann is too attenuated and speculative

to constitute “ill-will” evidence under Graham. See Graham v. Connor, 490 U.S. 386, 399 n.12

(1989) (“[I]n assessing the credibility of an officer’s account of the circumstances that prompted

the use of force, a factfinder may consider, along with other factors, evidence that the officer

may have harbored ill-will toward the citizen.”); c.f. Goff, 173 F.3d at 1074–75 (allowing

evidence that arresting officer was having affair with arrestee’s wife); Agushi v. Duerr, 196 F.3d



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754, 761–62 (7th Cir. 1999) (suggesting witness testimony that officer said “I’m going to ruin

those people” was admissible); Heitzman v. Engelstad, No. 12-CV-2274 MJD/LIB, 2013 WL

4519403, at *6–8 (D. Minn. July 11, 2013) (suggesting family dispute evidence would be

admissible where officer’s wife was formerly married to plaintiff’s brother), aff’d, No. CIV. 12-

2274 MJD/LIB, 2013 WL 4516320 (D. Minn. Aug. 26, 2013); Johnson v. Marshall, No. 15-CV-

02608, 2018 WL 11222673, at *3–4 (N.D. Ill. July 9, 2018) (tentatively allowing evidence of

certain racially-charged internet domain names owned by officer).

       Plaintiffs asked to make an offer of proof at trial, outside of the presence of the jury, in

the form of two to three sentences each regarding what the testimony of LaBoebe and Wehner

would have been. Defendant was amenable. The Court will allow Plaintiffs’ counsel to proffer

two to three sentences each regarding the testimony of LaBoebe and Wehner.

       Relatedly, the Court will sustain Defendant’s objections to Plaintiffs’ Exhibits J, K, and L

(Museum Photo, Pilarski House with Signs, and Museum Sign) because those exhibits are

related to the claims dismissed on summary judgment and are not relevant to the remaining

excessive force claim. See Blair, 420 F.3d 823; Peters, 2013 WL 9839011 at *5.

       7. Linda’s claim about Hammann’s marijuana use

       In the body camera video, Linda makes comments like “Go smoke your weed, cop. We

know where you get it.” She has also testified that she made similar comments earlier in the

encounter. As with Defendant’s motion #5, the Court will overrule the motion in part. Linda’s

comments are relevant to the totality of the circumstances confronting Hammann when he used

force against Keith. See Stepanovich, 728 F. App’x at 900. However, Plaintiffs may not go into

the truth of the matter asserted. Plaintiffs’ counsel represented that he would ask Linda what she




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said but would not ask Hammann if it was true. The Court offered the possibility of a limiting

instruction. Defense counsel stated he would like to consider it.

       8. Jeramey Lehnig incident, lawsuit, and/or settlement

       Plaintiffs consent. The Court will sustain the motion.

       9. Argument or evidence that Linda was not arrested on 9/12/22 or that she was

charged (and case was entered nolle prosequi)

       Defendant argues such evidence is irrelevant. Plaintiffs argue that whether Linda was

arrested is probative of whether, as Defendant alleges, she jumped on Hammann and tried to

grab his gun, because it is unimaginable she would not be arrested if she did. The Court will

overrule the motion in part. Plaintiffs may adduce evidence that Linda was not arrested on

September 12, 2022. See F.R.E. 401.

       10. Detailed evidence concerning April 2022 Nuisance Ticket

       Defendant allows that a brief mentioning of the matter is appropriate as part of explaining

the limited interactions between Keith and Hammann before September 12, 2022. Defendant

argues that extensive detail would be for an improper purpose: invoking juror thoughts/feelings

on dismissed matters such as free speech rights, invoking juror sympathy for the Pilarskis, or

showing Hammann’s incompetence (Hammann wrote a ticket for a “nuisance” when it should

have been under the City’s sign ordinance). Defendant argues such detail is irrelevant and an

undue waste of time. Plaintiffs argue the ticket shows Hammann was against Keith and used an

unlawful charge to bring him into court, which is relevant to the totality of the circumstances.

       The Court will sustain the motion in part. A brief overview of the April 2022 Nuisance

Ticket is appropriate to explain the nature of prior contacts between Keith and Hammann. See

Barnes v. Felix, 145 S. Ct. 1353, 1358-59 (2025) (reasoning history of interactions between



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suspect and officer are relevant to the totality of the circumstances). Plaintiffs are permitted to

go into the details of Keith and Hammann’s interaction that day. The Court will also permit

Plaintiffs to establish that Hammann wrote a ticket for a “nuisance” when it should have been

under the City’s sign ordinance. At the Final Pretrial Conference, Plaintiffs’ counsel agreed to

work on a stipulation with defense counsel to that effect. Additionally, Plaintiffs are seeking to

admit testimony that Keith pled guilty to the nuisance charge and was on probation for it at the

time of the incident. Such testimony will be allowed. However, Plaintiffs will not be permitted

to go into other extraneous matters related to the nuisance court case.

       Relatedly, the Court will sustain Defendant’s objections to Plaintiffs’ Exhibits M, P, Q,

R, S, and T (Nuisance Ticket, Docket Sheet from Nuisance Charge, Nolle – Nuisance Charge,

Nuisance Ordinance, Nuisance charge code, and sign ordinance). The Court will overrule

Defendant’s objection to Plaintiffs’ Exhibit XX (Handwritten Nuisance Ticket).

       11. Detailed evidence concerning the Greg Brinker encounter or its conveyance to

Hammann on 9/12/22.

       Defendant allows that the jury should be able to understand the general nature of the

reason for Hammann first talking to Keith Pilarski on September 12, 2022, and that a brief

explanation of the nature of the underlying exchange on September 12, 2022 is appropriate.

Defendant argues that detailed evidence as to the specific occurrence and the exact mode of

Hammann receiving information concerning the Brinker encounter is irrelevant and could create

juror confusion. Plaintiffs argue that Keith Pilarski’s disputes with Brinker over the months

before the incident are relevant to the totality of the circumstances. Plaintiffs also wish to

resurrect their false arrest claim by making an offer of proof that Hammann had no information

about the distance between Keith Pilarski and Brinker.



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       The Court will sustain the motion in part. Detail about prior encounters between Keith

Pilarski and Brinker is irrelevant, as Plaintiffs argued on summary judgment that Hammann had

no knowledge of those prior encounters. See F.R.E. 401. Detail about the distance between

Keith Pilarski and Brinker and the face-to-face element of a peace disturbance relates to issues

resolved on summary judgment and will be excluded. See Blair, 420 F.3d 823; Peters, 2013 WL

9839011 at *5. Plaintiffs may not make an offer of proof on that point. Relatedly, the Court will

sustain Defendant’s objections to Plaintiffs’ Exhibits U and V (Peace disturbance ordinance and

Peace disturbance statute). The Court is inclined to rule that detail about the ambiguity as to how

Brinker’s account was conveyed to Hammann, and by whom, would confuse the issues, mislead

the jury, and waste time. See F.R.E. 403; Doc. 38 at 8 n.3 (describing ambiguity). However, the

Court will reserve ruling on Plaintiffs’ proposed cross-examination of Hammann about how he

learned of Brinker’s account.

       12. Edward (“Steve”) Watsek testimony

       At the Final Pretrial Conference, Plaintiffs’ counsel stated that he will not call Watsek.

This motion is moot.

       13. Medical expenses or damages not disclosed or properly supported

       Plaintiffs consent and state that they only plan to describe their medical care in the most

general terms and will not elicit testimony regarding heart monitoring. The Court will sustain

the motion.

                                  Plaintiffs’ Motions in Limine

       1. Undisclosed witnesses and/or evidence.

       Defendant agrees. The Court will sustain the motion.

       2. Any dismissed causes of action.



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       Defendant agrees. The Court will sustain the motion.

       3. All pre-incident and post-incident law enforcement contact involving Plaintiffs,

particularly detentions not ending in arrest, arrests, and charges not resulting in

convictions, excluding the nuisance charge against Keith.

       Defendant agrees as to post-incident law enforcement contact. The Court will sustain the

motion as to post-incident law enforcement contact (specifically including the criminal charges

against the Pilarskis, Keith’s 24-hour hold/detention immediately after the September 12, 2022

incident, and Keith’s criminal trial/acquittal). At the Final Pretrial Conference, Plaintiffs

clarified that this motion was meant to address pre-incident contact not with Hammann, such as

Keith’s arrest at age 18 for shoplifting. The Court will sustain the motion as to that pre-incident

contact. The Court notes that pre-incident contact with Hammann is admissible as set forth in

the Court’s order on Defendant’s motion #10.

       4. Mitigation of damages

       Defendant agrees. The Court will sustain the motion.

       5. Comparative fault

       Defendant agrees. The Court will sustain the motion. Defendant may still argue and

offer evidence that Plaintiffs’ conduct caused Defendant’s responses.

       6. Prior convictions more than 10 years old

       Defendant agrees. The Court will sustain the motion.

       7. Other civil actions involving Plaintiffs

       Defendant agrees. The Court will sustain the motion.

       8. Opinion testimony on ultimate issues from Defendant himself and Defendant’s

non-expert witnesses



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       Defendant agrees. The Court will sustain the motion. Hammann and Walters may still

explain their training, experience, and methods employed on September 12, 2022. They may not

offer opinions as to “reasonableness” or “constitutionality.” At the Final Pretrial Conference, the

parties agreed that they would have a discussion prior to getting “near the line.”

       9. Facts known in hindsight

       Defendant agrees. The Court will sustain the motion.

       10. Implying a verdict will damage Defendant’s personal finances or family.

       The Court will reserve ruling, as mention of damage to Defendant’s personal finances or

family may be admissible on the issue of punitive damages. See Delgado v. Mak, No. 06C3757,

2008 WL 4367458, at *3–5 (N.D. Ill. Mar. 31, 2008) (evidence of defendant’s net worth and that

he is personally responsible for any award relevant to punitive damages); Ball-Bey v. Chandler,

No. 4:18-CV-1364-SPM, 2025 WL 274870, at *5 (E.D. Mo. Jan. 23, 2025) (reserving ruling on

evidence that “may be relevant to the question of punitive damages but would be highly

prejudicial if considered by the jury in determining liability”). The Court notes that counsel may

argue that this case is “important to” and “matters to” their clients.

       11. “Winning lottery” and “getting rich”

       Defendant agrees as to witnesses but maintains the right to comment on the amount of

money sought in closing argument. As with Plaintiffs’ motion #10 above, the Court will reserve

ruling. Relatedly, in their Trial Brief, Plaintiffs state that they wish to present a “send a

message” argument in closing. The Court will reserve ruling on that proposed argument as well.

       12. Mention of Defendant’s Commendations and Awards

       Defendant agrees. The Court will sustain the motion.

       13. Officers appearing in court in uniform and/or with weapons.



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       Defendant agrees as to Hammann and agrees that Walters will not appear with a weapon.

The Court will sustain the motion in part. Walters may appear in uniform. See Jones v. Ralls,

187 F.3d 848, 851 (8th Cir. 1999) (denying point on appeal asserting error in permitting officers

to wear standard police uniforms at trial); Zaken v. Kelley, 370 F. App’x 982, 985–86 (11th Cir.

2010) (affirming decision allowing officer to wear uniform at trial on individual capacity § 1983

claim). However, at the Final Pretrial Conference, Defendant represented that Walters does not

plan to wear his uniform.

       14. Apology

       Defendant agrees. The Court will sustain the motion.

       15. Tracy Gutierrez, testimony that Keith Pilarski made racist statements

       Defendant agrees. The Court will sustain the motion.

       16. Testimony regarding LGBT signage on Brightly Howell’s car, Pilarski

comments

       Defendant agrees. The Court will sustain the motion.

       17. Complaints of persons about Keith Pilarski’s pre-incident behavior

       The parties appear to agree that such complaints are admissible to the extent that

Hammann had knowledge of them, and they bore on his handling of the encounter with Keith

Pilarski. The Court will overrule the motion in that respect. The motion is otherwise sustained.

       18. Any injuries suffered during the incident by Defendant Hammann

       Defendant agrees. The Court will sustain the motion. Relatedly, the Court will sustain

Defendant’s objection to Plaintiffs’ Exhibit I (Deer Photo).




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                 Defendant’s Remaining Objections to Plaintiffs’ Exhibit List

       The Court will sustain Defendant’s objections to Plaintiffs’ Exhibits Y and Z (Transcript

of Body Cam Video and Marked Transcript of Body Cam Video). At the Final Pretrial

Conference, the Court sustained Defendant’s objection to Exhibit II (New Haven PD taser

policy). However, the Court will now overrule Defendant’s objections to Plaintiffs’ Exhibits II

and HH (New Haven PD taser policy and New Haven PD dash cam policy). See Case No. 4:19-

cv-02583-AGF, Doc. 130 (allowing SLPD Special Order regarding use of force in excessive

force case). Both the taser and dash cam policies will be allowed.

                                 Objections to Jury Instructions

       The Court will sustain Defendant’s objections to the inclusion of dismissed claims in

Plaintiffs’ proposed jury instructions. The Court will reserve ruling as to Defendant’s objections

to the phrase “put his weight on him” in Plaintiffs’ proposed verdict director for the excessive

force claim against Keith Pilarski. The Court will also reserve ruling on Defendant’s proposal to

include the following provision in that director: “You must determine whether the officer’s

actions were reasonable in the light of the facts and circumstances confronting the officer

without regard to the officer’s own state of mind, intention or motivation.” (Defendant’s

proposal to include the same provision in the verdict director for Linda Pilarski is now moot.)

And the Court will reserve ruling on Plaintiffs’ objections to Defendant’s proposed special

interrogatories. The Court is inclined to give an alternative set of proposed special

interrogatories and will consider giving a broken-up version of Defendant’s Question 8 (asking

about “gratuitous and unnecessary violence” versus force “for a legitimate law enforcement

reason”) as proposed by Plaintiffs. Finally, the Court notes that at the Final Pretrial Conference,

Defendant stated that the parties agreed on the preliminary instructions submitted by Plaintiffs.



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                                        Additional Matters

         At the Final Pretrial Conference, the Court inquired about physical demonstrations by

witnesses. The parties stated that both Keith Pilarski and Hammann would be making physical

demonstrations as they did in Keith Pilarski’s criminal trial. The parties agreed that any witness

making a physical demonstration will step out of the witness box and in front of the monitor that

is close to the jury box. The parties agreed that the attorneys will describe what the witness is

doing for audio recording purposes. The Court stated that was fine, subject to any objections.

         Accordingly,
         IT IS HEREBY ORDERED that Plaintiffs’ Motions in Limine (Doc. 52) are

RESERVED, SUSTAINED, and OVERRULED, as set forth in this Memorandum and Order.

         IT IS FURTHER ORDERED that Defendant’s Motions in Limine for Trial (Doc. 55)

are RESERVED, SUSTAINED, and OVERRULED, as set forth in this Memorandum and

Order.

         IT IS FURTHER ORDERED that Defendant’s Objections to Plaintiffs’ Exhibit List

(Doc. 65) are SUSTAINED and OVERRULED, as set forth in this Memorandum and Order.

         IT IS FURTHER ORDERED that Defendant’s oral objections to Plaintiffs’ “May Be

Called Witnesses” are SUSTAINED, as set forth in this Memorandum and Order.

         IT IS FURTHER ORDERED that Defendant’s Objections to Plaintiffs’ Offered Jury

Instructions (Doc. 57) are RESERVED and SUSTAINED, as set forth in this Memorandum

and Order.

         IT IS FURTHER ORDERED that Plaintiffs’ [Objections] to Defendant’s Proposed Jury

Instructions (Doc. 59) are RESERVED, as set forth in this Memorandum and Order.




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       IT IS FINALLY ORDERED that Plaintiffs’ Motion for Leave to File This Supplement

to Their Trial Brief with Supplemental Authority Regarding Qualified Immunity and Jury

Instructions (Doc. 68) is GRANTED.

       Dated this 7th day of June, 2025.


                                                     /s/ Noelle C. Collins
                                                  NOELLE C. COLLINS
                                                  UNITED STATES MAGISTRATE JUDGE




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